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COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 






HENRY THOMPSON A/K/A 

HENRY TERRELL,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.





On appeal from the 28th District Court of Nueces County, Texas.






MEMORANDUM OPINION


	

Before Justices Yañez, Rodriguez, and Benavides


Memorandum Opinion Per Curiam


	Appellant, Henry Thompson a/k/a Henry Terrell, attempts to appeal his conviction
theft.  The trial court has certified that this "is a plea-bargain case, and the defendant has
NO right of appeal."  See Tex. R. App. P. 25.2(a)(2).

	On April 16, 2008, this Court notified appellant's counsel of the trial court's
certification and ordered counsel to: (1) review the record; (2) determine whether appellant
has a right to appeal; and (3) forward to this Court, by letter, counsel's findings as to
whether appellant has a right to appeal, or, alternatively, advise this Court as to the
existence of any amended certification.

	On August 15, 2008, counsel filed a letter brief with this Court.  Counsel states that
although the trial court certification incorrectly reflects that appellant had no right of appeal
because it was a plea bargain case, appellant waived his right to appeal.  Counsel's
response states that appellant does not have a right of appeal. 

	On April 8, 2009, the trial court held a hearing regarding the trial court certification
of the defendant's right to appeal.  At that hearing, counsel stated that she sent appellant
a copy of her letter dated August 15, 2008, setting forth the reasons appellant did not have
the right to appeal, and she has received no response from appellant.   Appellant was
released from prison on December 12, 2008.

	The Texas Rules of Appellate Procedure provide that an appeal must be dismissed
if the trial court's certification does not show that the defendant has the right of appeal. 
Tex. R. App. P. 25.2(d); see Tex. R. App. P. 37.1, 44.3, 44.4. Accordingly, this appeal is
DISMISSED.  Any pending motions are denied as moot.

							PER CURIAM

Do not publish.  See Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and 

filed this the 4th day of June, 2009. 

	


